       Case 1:25-cv-01275-CRC             Document 38     Filed 07/15/25      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 HARRIS COUNTY, TEXAS, et al.,

                            Plaintiffs,

 v.                                              Case No. 1:25-cv-01275-CRC

 ROBERT F. KENNEDY, JR., in his
 official capacity as Secretary of Health
 and Human Services, et al.,

                            Defendants.

        PLAINTIFF AFSCME’S MOTION FOR PARTIAL RECONSIDERATION

       Plaintiff American Federation of State, County, and Municipal Employees (“AFSCME”)

respectfully seeks narrow and limited reconsideration of that portion of the Court’s June 17, 2025,

Order, ECF No. 32, and Memorandum Opinion, ECF No. 33 (“Mem. Op.”), that declined to award

Plaintiff AFSCME injunctive relief on behalf of its members who are public employees in the

State of Alaska and Jackson County, Ohio. For the reasons presented in the accompanying

memorandum in support of this motion, the Court should enter an order granting reconsideration

and extending to Alaska and to Jackson County, Ohio the injunctive relief it granted on June 17,

2025 to plaintiffs Harris County, Texas; Columbus, Ohio; Davidson County and Nashville,

Tennessee; and Kansas City, Missouri, under the Coronavirus Preparedness and Response

Supplemental Appropriations Act of 2020, Pub. L. No. 116-123, 134 Stat. 146 (2020); the

Coronavirus Aid, Relief, and Economic Security Act, Pub. L. No. 116-136, 134 Stat. 281 (2020);

and the Coronavirus Response and Relief Supplemental Appropriations Act of 2021, Pub. L. No.

116-260, div. M., 134 Stat. 1182 (2020). The specific contours of the relief that AFSCME seeks

are provided in the accompanying proposed order.



                                                1
       Case 1:25-cv-01275-CRC   Document 38    Filed 07/15/25    Page 2 of 2




Dated: July 15, 2025               Respectfully submitted,

                                    /s/ Joel McElvain
                                   JOEL McELVAIN
                                   (DC Bar No. 448431)
                                   POOJA BOISTURE*
                                   SKYE L. PERRYMAN
                                   (DC Bar No. 984573)
                                   Democracy Forward Foundation
                                   P.O. Box 34553
                                   Washington, D.C. 20043
                                   (202) 448-9090
                                   jmcelvain@democracyforward.org
                                   pboisture@democracyforward.org
                                   sperryman@democracyforward.org


                                   MATTHEW S. BLUMIN
                                   (DC Bar No. 1007008)
                                   GEORGINA C. YEOMANS
                                   (DC Bar No. 1510777)
                                   American Federation of State, County, and
                                   Municipal Employees, AFL-CIO
                                   1625 L. Street NW
                                   Washington, DC 20036
                                   (202) 775-5900
                                   mblumin@afscme.org
                                   gyeomans@afscme.org


                                   Counsel for AFSCME

                                   *Admitted pro hac vice




                                      2
